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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA,            )
                                     )
          v.                         )  No. 21-CR-53 (CJN)
                                     )
EDWARD JACOB LANG,                   )
                                     )
                Defendant.           )
____________________________________)


   DEFENDANT LANG’S SELF-DEFENSE AND DEFENSE OF OTHERS
                         PROFFER

       Comes now Defendant Edward Jacob Lang, by and through undersigned

counsel, hereby submits the following regarding Defendant Lang’s Self Defense and

Defense of Others proffer. The Government moves to force Mr. Lang to proffer facts

supporting a potential defense of self-defense/defense of others, or failing such

production, to prohibit Mr. Lang from raising such a claim. While discussing the

substance of self-defense claims, the Government fails to explain with specificity its

belief why the government is entitled to a preview of the Defendant's potential

defense strategies.

      First and foremost, it must be stressed – again – that the model instruction for a

lawful self-defense claim against a federal officer requires the defendant to not know

the official status of the federal officer. 2 FED. JURY PRAC. & INSTR. § 24:12 (6th ed.).
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Nonetheless, and what is relevant to this case, is that the model instruction’s

requirement “that the defendant not know the status of the officer” is inapplicable here

because Lang was responding to the use of excessive force. United States v. Span, 970

F.2d 573, 577 (9th Cir. 1992).

      Simply stated, the use of excessive force is an exception to the rule that a

Defendant need not know the officer’s status.

                           I.     LAW AND ARGUMENT

       Federal Crim. Proc. Rules 12.1-12.3 explicitly provide a list of defenses that

a defendant must disclose pretrial – about which encompass the following:

                   (1) alibi (Rule 12. 1),
                   (2) insanity (Rule 12.2), and
                   (3) public authority (Rule 12.3).

       Self-defense and the defense of others is not a specific, enumerated defense,

which the Federal Rules of Criminal Procedure require as a “must” to be disclosed

to the government pretrial. Consequently, per the rules, the government is not entitled

to notice for a defendant to assert a self-defense and/or defense of others claim.

Further, the government’s position that the defense must provide this Court with a

pretrial proffer of facts supporting such a claim must be denied.

       Alternatively, Defendant Lang submits the following proffer facts in a good-

faith attempt to comply with this Honorable Court’s motion deadlines.

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                                      POINT ONE:

                 THE GOVERNMENT IS NOT ENTITLED TO
                 GAIN ADVANCE KNOWLEDGE OF A
                 DEFENDANT’S DEFENSE STRATEGY OR TO
                 PRECLUDE A DEFENDANT FROM RAISING A
                 DEFENSE BEFORE ANY EVIDENCE HAS BEEN
                 ADDUCED BEFORE A JURY.

       Whether Mr. Lang chooses to raise any particular defense remains subject to

incomplete discovery provided by the Government, while facts continue to come forth

from sources outside the Government. Asking for the preclusion of an affirmative

defense or to assess (and exclude) potential evidence regarding such a defense is

entirely premature.

       In sum, neither the federal rules of criminal procedure nor the United States

Constitution require Mr. Lang to provide the Government a “sneak peek” at his

defense. In fact, the law is quite clear that Mr. Lang need not disclose trial strategy

to the Government. Cf. In re Grand Jury Subpoena, 870 F.3d 312, 316 (4th Cir. 2017)

(explaining “Opinion work product enjoys a nearly absolute immunity and can be

discovered only in very rare and extraordinary circumstances”).

       Accordingly, this Court should find that Defendant Edward Jacob Lang need

not provide a detailed proffer, at this time, and such a decision regarding Lang’s self

defense and defense of others claims should be reserved to a time when this case is

actually on trial.
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                                                 POINT TWO:

                      ALTERNATIVELY, THESE ARE THE FACTS
                      MR. LANG IS WILLING TO PROFFER AT THIS
                      POINT TO HIGHLIGHT HE ACTED IN SELF-
                      DEFENSE AND IN DEFENSE OF OTHERS ON
                      JANUARY 6TH

        Throughout the time Mr. Lang is alleged to have committed assaults, 2:57 pm

to 5:00 pm1, various different Metropolitan Police Department Officers continuously

used excessive force. Some of this force was invoked against, unarmed, helpless,

women.

        Alternative to our position that Lang should not be placed in a position to

provide information regarding his entire self-defense and defense of others claims, at

this time we are willing to proffer:

        (1)      At approximately 2:41 p.m., that Upper West Terrace fills
                 with protestors;

        (2)      Mr. Lang is alleged to have been in “the tunnel” from
                 approximately 2:57 pm – 4:46 p.m. (See FN 1, Supra);

A. Between approximately 3:00 p.m. – 3:59 p.m.

        (3)      At approximately 3:18 p.m., officers clear the tunnel;

        (4)      Officers fall back into the tunnel and protestors try to enter

1
 See Count One, charging “at or around 2:57 p.m. . . .”;
 See Count Two, charging “at or around 3:08 p.m. to 3:13 p.m.”;
 See Count Three, charging “at or around 4:01 p.m. to 4:02 p.m.”;
See Count Four, charging “at or around 4:10 p.m. to 4:13p.m.”; and
See Count Five, charging “at or around 4:44 p.m. to 4:46 p.m. . . .”.

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             back in around 3:30 p.m – this is the whole “Hee How”
             scene shown in the media;

      (5)    Officers start beating and spraying people at the mouth of
             the tunnel heavily between 3:50-3:55 p.m;

B. Between approximately 4:00 p.m. – 5:00 p.m.

      (6)    From approximately 4:00pm and on Mr. Lang motions to the officers to
             stop, and yells “stop you’re killing them”;

      (7)    The crowd began to be pushed back and people began to struggle and
             get crushed;

      (8)    Mr. Lang visibly watched Victoria White getting beat by various male
             officers between 4:05 - 4:08 p.m;

      (9)    Mr. Lang saw Philip Anderson in distress and bodies completely on top
             of him, where Mr. Lang acted swiftly and without regard to his own life,
             and ripped Philip Anderson out of the crowd. Mr. Anderson states in a
             video that “if it weren’t for Jake Lang I’d definitely be dead”;

      (10) Within minutes after saving Anderson, Defendant Lang ripped Tommy
           Tatum out of the crowd;

      (11) Roseann Boyland is killed around 4:20 p.m. by Officer Bagshaw
           ordering pepper balls to be fired in the tunnel (this death happened right
           in front of Lang, where he attempted to pull Boyland out of the crowd;
           and

      (12) Officers drag Roseann Boyland’s dead body away from “the tunnel”
           around 4:35 p.m.

      Some of the misconduct in this case actually consisted of MPD and USCP

Officer’s beating women over the head with a baton and at times closed fists. (See ¶ 4,

infra)(stating “Mr. Lang visibly watched Victoria White getting beat by various male

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officers between 4:05 - 4:08 p.m).

      The record in this case has highlighted that another example of Lang acting in

defense of others, occurred when he witnessed a woman, now known as Roseanne

Boyland, laid unconscious on the floor, and was nonetheless continued to be beaten

“to actual death” with a baton. In response to the display of excessive force and calls

for help, Mr. Lang did what he could to distract officers, and to ultimately help those

protestors in need, those being extremely beaten by the Officers. Under these

circumstances, Lang reasonably believed that various woman faced a present threat of

death or serious injury and acted lawfully in response to the threat. (See ¶ 4,

infra)(stating “Mr. Lang visibly watched Victoria White getting beat by various male

officers between 4:05 - 4:08 p.m).

      The Metropolitan Police Department and US Capitol Police officials used

excessive force against various American citizens, including but not limited to, beating

a woman identified as Rosanne Boyland over the head with a baton, including times

while Ms. Boyland laid on the floor unconscious. Two other citizens were being

crushed under the weight of the crowd while police attacked those attempting to render

them aid. In response to the display of excessive force and calls for help, Mr. Lang

did whatever he could do to render aid, and to briefly deter officers from continuing

its attack on other unarmed citizens.


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      This Court already was presented with a Declaration of Phillip Anderson,

contributing Lang as the reason Mr. Anderson is still alive to this day. Since then

another individual has come out, and stated that Defendant Lang also saved his life as

well, and that but for Mr. Lang’s actions, he would be dead at the hands of the officer’s

actions on January 6th. That second individual is Thomas Tatium.

      Overall, Mr. Lang was caught in a drastic situation where he is a victim of “mob

mentality”. And, even without an expert, one can reasonably conclude that such “mob

mentality” is that one cannot go against the mob. Being caught up in such “mob

mentality, Lang actually started to believe that it was “sink or swim time”, and he

actually believed that his own life was in danger; and then hen he witnessed others in

danger, he acted, or reacted as a response to woman and big grown men being beaten

right in front of Lang.

      Lang reasonably believed that he was in imminent danger of harm while he

attempted to and did affect the rescue of at least two other human’s life. Mr. Lang was

not assaulting the officers but, in the heat of the moment Mr. Lang was using justifiable

force in a reasonable belief that he was protect himself against imminent harm while

saving the lives of Phillip Anderson and Tommy Tatum, and attempting to save the

life of Rosanne Boyland against excessive use of force actions by the officers.

      Evidence supporting that the officers use of force was unreasonable where


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during the incident, video shows other officers physically restraining their colleagues

while they unjustifiably beat protestors just ten feet from where the alleged assault

occurred.

      Various officer’s involved in Lang’s case were using excessive force against

other citizens, including but not limited to, two women being beating her over the head

with a baton and closed fists. In response to the display of excessive force and calls

for help, Mr. Lang did anything he could do towards the officers in order to distract

him. Mr. Lang reasonably believed that more than one woman, and various others

faced a present threat of death or serious injury and acted lawfully.

                               II. CONCLUSION

       WHEREFORE for these reasons, this Court should not preclude Lang from

a jury instruction and ability to pursue his claims of Self-Defense and the Defense

of Others for failure to present a proffer set of facts that require Mr. Lang to provide

the Government a “sneak peek” at his defense. There are various alternatives to this

situation, such as having Lang provide the Government with notice of any expert he

plans to call as a witness on this issue. In light of this, Lang respectfully requests

that this Honorable Court hold this issue in abeyance until such time as this matter

gets closer to a trial.




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Dated: March 15, 2023

                                      Respectfully Submitted,

                                      /s/ Steven Alan Metcalf II
                                      _______________________________
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                             CERTIFICATE OF SERVICE

I hereby certify on the 17th day of March 2023, a copy of the foregoing was served upon all
parties as forwarded through the Electronic Case Filing (ECF) System.

                                  /s/ Steven A. Metcalf, Esq.
                                    Steven A. Metcalf, Esq.
